Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 1of 21

EXHIBIT A
Part 2 of 4
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 2 of 21

30. In addition to the relatively small demand for Neurontin’s approved use,
Neurontin also had a short patent protection period. The patent for gabapentin expired in 1998,
and the patent for the use of gabapentin to treat epilepsy expired on or about July 16, 2000.
Defendants understood that Neurontin’s market share and price would be significantly reduced
when generic bioequivalents of Neurontin, anhydrous gabapentin that is not lactam free, entered
the market, and that there was a limited period of time to increase demand for Neurontin and
charge supra-competitive rates.

31. During the relevant period, the relevant geographic market is the United States
and the relevant product market is Neurontin and its generic bioequivalent, anhydrous
gabapentin that is not lactam free. Defendant Pfizer’s share of the relevant geographic and
product market for Neurontin and the generic bioequivalent of Neurontin, anhydrous gabapentin
that is not lactam free, was 100%. From 1994 until late 2004, Defendant Pfizer controlled the
relevant product market and fixed the price for Neurontin at artificially high or supra-competitive
levels,

32. Generic bioequivalents of Neurontin could and would begin competing with
Neurontin after its patents had expired on or about July 16, 2000. Therefore, in 1994 or 1995,
Defendants met and devised an illegal scheme to expand and extend market share and power
through a false, deceptive, and misleading marketing campaign and misuse of the legal and
regulatory system. Specifically, Defendants decided to increase demand for Neurontin and
interfere with potential generic competitors by illegally marketing Neurontin for certain uses that
were not safe and effective, in conjunction with acquiring and using other patents on other forms

and methods of using gabapentin for anticompetitive purposes.

13
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 3 of 21

33. Defendants also believed that their scheme would minimize the negative impact
generic bioequivalents of Neurontin might have on potential sales of another drug that Defendant
Pfizer had been developing, which would be exclusively sold and priced by Defendant Pfizer.

34. The intensity and scope of Defendants’ illegal scheme was aptly summarized by
the following directive to medical liaisons by a Sales Director for Defendant Pfizer:

I want you out there every day selling Neurontin. Look this isn’t just me, it

comes down from Morris Plains that Neurontin is more profitable....we know

Neurontin’s not growing adjunctive therapy, beside that is not where the money

is. Pain management now that’s money. Monotherapy, that’s money. We don’t

want to share these patients with everybody, we want them on Neurontin only.

We want their whole drug budget, not a quarter, not half, the whole thing....We

can’t wait for them to ask, we need to get out there and tell them up front... That’s

where we need to be holding their hand and whispering in their ear Neurontin for

pain, Neurontin for monotherapy, Neurontin for bipolar, Neurontin for

everything...I don’t want to see a single patient coming off Neurontin until they

have been up to at least 4800 mg/day. I don’t want to hear that safety crap either,

have you tried Neurontin, every one of you should take on just to see there is

nothing, it’s a great drug.

35. To create additional demand for Neurontin, Defendants implemented a false,
deceptive, and misleading marketing program designed to convince the public, including

Plaintiffs, that Neurontin was safe and effective for certain uses that were, in fact, not safe and

effective.

36. Defendants represented, directly and by implication, that Neurontin was safe and
effective, as those terms are commonly understood, at dosages above 1800 mg/day, as
monotherapy for the treatment of epilepsy and seizures, and for the treatment of a myriad of
disorders or diseasés, including but not limited to, psychiatric disorders, like anxiety, Attention
Deficit Disorder, depression, and bipolar; restless leg syndrome; migraine headaches; alcohol
withdrawal; spinal cord injury; tremors; Amyotrophic Lateral Sclerosis (“ALS”), otherwise

known as Lou Gehrig’s disease; painful diabetic and peripheral neuropathy; reflex sympathetic

14
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 4 of 21

dystrophy; and general pain management. Such representations were false, deceptive and
misleading or lacked sufficient substantiation.

37. Defendants represented that Neurontin was safe and effective for certain
treatments, as identified above, by using various deceptive business practices, including but not
limited to, the following:

A. Misrepresenting, directly and by implication, the independence, role, and
credentials of its medical liaisons;

B. Misrepresenting, directly and by implication, the independence, scientific
validity, results, and, at times, existence, of purported medical studies or clinical trials or
concealing studies that had shown Neurontin was not effective for certain uses;

C. Creating and publishing false, deceptive, and misleading articles related to
certain uses of Neurontin, including, but not limited to, misrepresenting, directly and by
implication, the identity and independence of the author, the article’s scientific validity, and the
financial relationship between the Defendant Pfizer, author, and medical journal;

D. Misrepresenting, directly and by implication, the purpose and
independence of Continuing Medical Education Seminars and other presentations;

E. Making payments to doctors to prescribe Neurontin for unproven and
possibly dangerous uses, under the guise of consulting or speaking fees, or to participate in
purported medical studies that had little, if any, scientific value; and

F. Creating and publishing false, deceptive, and misleading advertisements
related to Neurontin, including, but not limited to, misrepresenting, directly and by implication,
that Neurontin has been proven safe and effective for a broader range of treatment than has

actually been established. For example, an advertisement, published in December 2001,

15
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 5 of 21

represented that Neurontin was effective in treating or improving social limitations, memory
difficulties, energy level, and work limitations. In another advertisement, published in 2002,
Defendant Pfizer represented that Neurontin interacts with the brain in a particular manner and
that it was an effective treatment as monotherapy for Epilepsy. These and other advertisements
have a tendency and capacity to deceive.

38. Defendant Pfizer entered into agreements with doctors, providers, marketing
firms, and other independent entities to unreasonably restrain trade, further anticompetitive
goals, and improperly expand and maintain market share and power. Pursuant to the agreements,
Defendant Pfizer paid these third parties money in exchange for the false, deceptive, and
misleading promotion of Neurontin. These agreements were intentionally entered into with the
full knowledge of Defendant Pfizer’s anticompetitive goals and of the effect their actions would
have on competition.

39. For example, Defendant Pfizer entered into an agreement with Defendant Cline,
Davis & Mann, a self-described “full service pharmaceutical advertising agency,” to develop a
marketing program that would improperly expand and grow Defendant Pfizer’s market share and
power. Such actions were in conjunction with and to maximize the effect of excluding and
harassing competitors.

40. Under the direction or control of Defendants Lodewijk de Vink and Anthony
Wild and pursuant to an agreement and in partnership with Defendant Pfizer, Defendant Cline,
Davis & Mann:

A. Developed and wrote Continuing Medical Education seminars and other
presentations that were, in fact, Neurontin sales presentations and that contained false, deceptive,

and misleading information related to Neurontin and competitors’ products;

16
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 6 of 21

B. Actively participated in the creation and implementation of Neurontin’s
false, deceptive and misleading marketing plans and tactics, as outlined above; and

C. At all times was privy to and aware of the anticompetitive goals and
purpose of the Neurontin marketing program, and substantially assisted in illegally expanding,
continuing, and maximizing Defendant’s Pfizer’s market share and power through false,
deceptive, and misleading representations and business practices.

41. Defendants’ representations, both direct and implied, related to certain uses of
Neurontin were clearly false and material. These representations were made to the public,
including Plaintiffs, and were likely to and did induce reasonable reliance. Defendants’ false,
deceptive, and misleading representations continued for a prolonged period of time, and were not
readily susceptible of neutralization or otherwise offset by rivals.

42. As a direct and proximate cause of Defendant Pfizer’s agreements with third
parties, sales of Neurontin grew dramatically and Defendant Pfizer’s market share and power
similarly grew. Neurontin is a drug widely reimbursed by payers, HMOs, and employer groups,
and it is marketed and sold in all fifty states and the District of Columbia. Since its introduction,
sales of Neurontin have increased to approximately $1.7 billion in 2003.

43. Plaintiffs were directly injured by Defendants’ conduct. Defendants’ wrongful
action included the misrepresentation of Neurontin’s safety and effectiveness, and this fraud
directly caused economic loss to Plaintiffs.

44, Plaintiffs were directly harmed by the deception practiced upon them. Had
Plaintiffs not been deceived by Defendants’ misrepresentations about the safety and
effectiveness of Neurontin, Plaintiffs would have taken Steps to so as not to allow or discourage

the purchase of Neurontin at the prices set by Defendant Pfizer. Among the steps Plaintiffs

17

Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 7 of 21

might have taken were to change reimbursement rates, block the adjudication of specific unique
national drug code (“NDC”) numbers, exclude the drug altogether from their formulary, or
otherwise dissuade doctors from prescribing Neurontin.

45. Defendants further sought, in conjunction with the marketing program described
above and part of a common scheme, to restrain competition and prevent generic bioequivalents
of Neurontin from entering the market by misusing the legal and regulatory system to harass,
intimidate, and interfere with competitors. Defendants’ conduct was done intentionally, in bad
faith, and as a method to use the legal and regulatory system as an anticompetitive weapon.

46. Since 1998, Defendants have engaged in a series of lawsuits against
manufacturers and distributors who intend to make or have made a generic bioequivalent of
Neurontin available to the public.? Defendants engaged in this series of legal proceedings
without regard to whether they are successful or unsuccessful. The lawsuits were knowingly and
intentionally filed for the purpose of harassment without regard to the merits, and were not filed
in a genuine interest to redress grievances,

47. Defendants’ lawsuits against manufacturers and distributors of a generic
bioequivalent of Neurontin were objectively baseless, meaning no reasonable litigant could

realistically expect success on the merits or conclude that the lawsuits were reasonably

* The lawsuits filed by Defendant Pfizer include, but are not limited to, the following: Warner-Lambert Co. vy.
Apotex, Inc. and Torpharm, No. 98 C 4293 (N.D. Ill. filed July 14, 1998); Warner-Lambert Co. y. Apotex, Inc. and
Torpharm, No. 01-0611 (N.D. Ill. filed F ebruary 5, 2001); Warner-Lambert Co. v. Purepac Pharmaceutical Co. and
Faulding Inc., No. 98-2749 (D.N.J. filed June 11, 1998); Warner-Lambert Co. y. Purepac Pharmaceutical Co. and
Faulding Inc., No. 99-5948 (D.N.J. filed December 20, 1999); Warner-Lambert Co. v. Purepac Pharmaceutical Co.
and Faulding Inc., No. 00-2931 (D.N.J. filed June 15, 2000); Warner-Lambert Co. y. Purepac Pharmaceutical Co.
and Faulding Inc., No. 00-3522 (D.N.J. filed July 20, 2000); Pfizer Inc., Warner-Lambert Co. v. Teva
Pharmaceuticals, No. 00-4168 (D.N.J. filed August 24, 2000); Pfizer Inc., Warner-Lambert Co. v. Teva
Pharmaceuticals, No. 00-4589 (D.N.J. filed September 20, 2000); Pfizer Inc. v. Zenith Laboratories and Ivax Corp.,
No. 00-6073 (D.N.J. filed December 14, 2000); Pfizer Inc. v. Zenith Laboratories and Ivax Corp, No. 01-0193
(D.N.J. filed January 12, 2001); Pfizer Inc. v. Zenith Laboratories and Ivax Corp., No. 01-1537 (D.N.J. filed March
30, 2001). These pleadings and related orders are incorporated herein by reference.

18
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 8 of 21

calculated to elicit a favorable outcome, because Defendants knew at the time that each lawsuit
was filed that the generic bioequivalents of Neurontin would not infringe upon any valid and
enforceable patent for Neurontin or each lawsuit became objectively baseless and Defendants
continued to litigate the lawsuit despite this knowledge.

48. Defendant Pfizer also intentionally made false representations to the Food and
Drug Administration (“FDA”) in listing patents in the Orange Book. Specifically, Defendants
represented, directly or by implication, that its patents claim a drug or drug product or method of
using a drug or drug product that the patents do not claim. Defendants further represented that a
claim of patent infringement could be reasonably asserted that, in fact, could not be reasonably
asserted.

49. For example, Defendants claimed that its patents related to monohydrate
gabapentin and low-lactam or lactam-free gabapentin “claim” the brand name drug, Neurontin,
even though Neurontin and generic bioequivalents of Neurontin are anhydrous, not
monohydrate, and Neurontin and generic bioequivalents of Neurontin are not low lactam or
lactam free.

50. Defendants made these representations to harass and to intimidate competitors
that intended to make and distribute generic bioequivalents of Neurontin and to delay
competition for Neurontin. Defendants knew that such representations could provide, at least, a
30-month stay before a generic bioequivalent entered the market, and Defendants misused the
legal and regulatory system to improperly obtain that stay.

51. Upon information and belief, Defendants also intentionally manipulated and
delayed its acquisition of patents and timing of interactions with the FDA to extend the

automatic stay of generic bioequivalents of Neurontin by, at least, 23 months.

19

Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 9 of 21

52. By interfering with or preventing a generic bioequivalent of Neurontin from
entering the market, Defendants injured Plaintiffs in their business or property by causing them
to pay more than they otherwise would have paid. As a result of Defendants’ unlawful actions,
Plaintiffs have been injured in their business or property. During the relevant period, Plaintiffs
did not have an opportunity to fully benefit from competition among generic bioequivalents of
Neurontin and Neurontin.

53. Defendants have known that the principal basis upon which generic
pharmaceutical companies compete is not quality or superiority but price. When a generic
manufacturer obtains final approval for a generic bioequivalent drug and that drug is made
available, it will be sold by pharmacists as a substitute for brand name drugs, such as Neurontin,
and prices are dramatically reduced. For example, the first generic bioequivalent drug typically
enters the market at 60% to 70% of the brand name price. When a second generic bioequivalent
drug enters the market, prices are likely to fall to between 50% to 60% of the brand name drug’s
price. Each subsequent competitor can lower the price further until five or more generic
bioequivalent drugs have entered the market, and, at that point, the generic bioequivalent drugs’
prices stabilize at 20% to 30% of the brand name drug’s price.

54. Ifa generic bioequivalent of a brand-name drug exists and the physician has not
specifically restricted the prescription to the brand-name drug, then for patients covered by
Plaintiffs’ plans, the pharmacist will fill the prescription with the less expensive, but
bioequivalent, generic drug. In fact, in some states, including Massachusetts and Minnesota, for
example, a pharmacist is statutorily required to fill a prescription with a generic bioequivalent of
a brand-name drug where the physician has not restricted substitution. Minn. Stat. § 151.21

(2003); Mass. Gen. Laws ch. 112, § 12D (2004).

20
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 10 of 21

55. Third-party payers, such as Plaintiffs, depend on real competition between
pharmaceutical manufacturers. By preventing competition, Defendant effectively thwarted
Plaintiffs’ efforts to reduce and control drug costs.

56. But for Defendants’ illegal acts, Plaintiffs could not encourage and/or mandate the
use of a generic bioequivalent of Neurontin to achieve significant savings. Plaintiffs were
injured as a direct and proximate cause of Defendants’ actions.

57. The above-described injury is of the type antitrust laws were designed to prevent
and flows from that which makes Defendants’ conduct unlawful. Moreover, Plaintiffs’ injuries
are of the type that the various consumer protection, insurance fraud, and deceptive trade
practices acts were enacted to address and redressing the harm caused by and preventing or
discouraging future conduct as described herein is in the public interest.

58. Defendants have no legitimate justification, economic or otherwise, for the above-
described violations of law.

COUNT I

Unlawful Restraint of Trade by Defendants In Violation of
New Jersey Antitrust Act on Behalf of All Plaintiffs

59. Plaintiffs incorporate and reaver by reference the averments contained in
preceding paragraphs 1 through 58.
- 60. Defendants’ above-described conduct violates the New Jersey Antitrust Act. N.J.
Stat. §§ 56:9-1 to 56:9-19,
61. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in New Jersey and throughout the United States. N.J. Stat. § 56:9-3.
62. Plaintiffs are “persons” under the New J ersey Antitrust Act. N.J. Stat. § 56:9-2.

63. Defendants are “persons” under the New J ersey Antitrust Act. N.J. Stat. § 56:9-2.

21
Word 201 13683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 11 of 21

64. Defendants’ unlawful above-described conduct directly and proximately resulted
in increased payments by Plaintiffs for Neurontin or generic bioequivalents of Neurontin.

65. The economic injury to Plaintiffs and their self-funded customers can be
determined through an accurate account of payments for Neurontin. Plaintiffs’ recovery will not
pose a risk of double recovery.

66. As a result of Defendants’ above-described conduct, Plaintiffs are entitled to three
times the actual damages sustained, in an amount to be proven at trial, as well as reasonable
attomeys’ fees, disbursements and costs, against Defendant, jointly and severally. N.J. Stat.
§ 56:9-12.

COUNT I

Unlawful Restraint of Trade by Defendants In Violation of District
of Columbia’s Antitrust Act on Behalf of Plaintiff CareFirst

67. Plaintiff CareFirst incorporates and reavers by reference the averments contained
in preceding paragraphs 1 through 66.

68. Defendants’ above-described conduct violates the District of Columbia Antitrust
Act. D.C. Code Ann. § 28-4501 (2004).

69. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in District of Columbia. D.C. Code Ann..§ 28-4502.

70. Plaintiff CareFirst is a “person” under the District of Columbia Antitrust Act.

D.C. Code Ann. § 28-4501.

71. Defendants are “persons” under the District of Columbia Antitrust Act. D.C.

Code Ann. § 28-4501.

72. Defendants’ above-described conduct directly and proximately resulted in

increased payments by Plaintiff CareFirst for Neurontin or generic bioequivalents of Neurontin.

22
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 12 of 21

73. The economic injury to Plaintiff CareFirst and its self-funded customers can be
determined through an accurate account of payments for Neurontin or generic bioequivalents of
Neurontin. Plaintiff CareFirst’s recovery will not pose a risk of double recovery.

74. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiff CareFirst is entitled to three times the actual damages sustained, in an amount to be
proven at trial, as well as reasonable attorneys’ fees, disbursements and costs, against
Defendants, jointly and severally. D.C. Code Ann. § 28-4507.

COUNT ITI

Unlawful Restraint of Trade by Defendants In Violation of the District of Columbia’s
Prescription Drug Price Information Law on Behalf of Plaintiff CareFirst

75. Plaintiff CareFirst incorporates and reavers by reference the averments contained
in the preceding paragraphs 1 through 74.

76. The District of Columbia Prescription Drug Price Information Restraints of Trade
law, D.C. Code Ann. § 48-804.02 is designed to protect insurers such as Plaintiffs and their self-
funded employer groups from unlawful restraints of trade that cause tortious injury to payers and
patients by increasing the cost of health care. The Defendants’ acts and practices described in
this Complaint fall into the category of the types of acts or practices this provision is meant to

prevent.

77. Plaintiff CareFirst is a “person” within the meaning of D.C. Code Ann. § 48-
804.51 (2004).

78. Defendants are “persons” within the meaning of D.C. Code Ann. § 48-804.51,

79. Defendants’ acts and practices jeopardized and/or raised the net price of, the

supply from manufacturers or wholesalers of drugs to the patients and the payers.

23
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 13 of 21

80. Defendants have violated the letter and spirit of the Prescription Drug Price
Information law by interfering and/or engaging in unlawful . and misleading statements,
fraudulent conduct, deception and anti-competitive acts as described in this Complaint, in order
to continue receiving inflated payments for Neurontin or generic bioequivalents of Neurontin
from Plaintiff CareFirst.

81. Plaintiff CareFirst has been damaged within the meaning of this provision, and is
entitled to treble damages inasmuch as the Defendants have engaged in a pattern of violating the
District of Columbia Prescription Drug Price Information Restraints of Trade law.

COUNT IV

Unlawful Restraint of Trade by Defendants In Violation of Florida
Antitrust Act of 1980 on Behalf of Plaintiff BCBS Florida

82. Plaintiff BCBS Florida incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 81.

83. Defendants’ above-described conduct violates the Florida Antitrust Act of 1980,
Fla. Stat. §§ 542.15 et seq. (2003).

84. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in Florida within the meaning of Fla. Stat. §§ 542.17(4) and 542.18,

85. Plaintiff BCBS Florida is a “person” under the Florida Antitrust Act of 1980. Fla.
Stat. § 542.17(3).

86. Defendants are “persons” under the Florida Antitrust Act of 1980. Fla. Stat.
§ 542.17(3).

87. Defendants’ unlawful conduct affected the specifically defined market for

Neurontin or generic bioequivalents of Neurontin.

24
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 14 of 21

88. Defendants’ possessed the ability to affect the price for Neurontin or generic
bioequivalents of Neurontin.

89. The exclusion of generic drug manufacturers from the market affected or was
intended to affect the price of supply of Neurontin or generic bioequivalents of Neurontin in the
market.

90. Defendants’ unlawful conduct harmed competition in general.

91. Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiff BCBS Florida for Neurontin or generic bioequivalents of
Neurontin.

92. The economic injury to Plaintiff BCBS Florida and its self-funded customers can
be determined through an accurate account of payments for Neurontin or generic bioequivalents
of Neurontin. Recovery by Plaintiff BCBS Florida will not pose a risk of double recovery.

93. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiff BCBS Florida is entitled to three times the actual damages sustained, in an amount to be
proven at trial, as well as reasonable attorneys’ fees, disbursements and costs, against
Defendants, jointly and severally. Fla. Stat. § 542.22(1).

COUNT V

Unlawful Restraint of Trade by Defendants In Violation of
the IHinois Antitrust Act on Behalf of Plaintiffs HCSC and Trustmark

94. Plaintiffs HCSC and Trustmark incorporate and reaver by reference the averments
contained in preceding paragraphs 1 through 93.
95. Defendants’ above-described conduct violates the Illinois Antitrust Act. 740 IIL.

Comp. Stat. 10/1 to 10/11 (2004).

25
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 15 of 21

96. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in Illinois. 740 Ill. Comp. Stat. 10/1 to 10/11.

97. Plaintiffs HCSC and Trustmark are “persons” under the Illinois Antitrust Act.
740 Ill. Comp. Stat. 10/1 to 10/11.

98. Defendants are “persons” under the Illinois Antitrust Act. 740 Ill. Comp. Stat.
10/1 to 10/11.

99. Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiffs HCSC and Trustmark for Neurontin or generic bioequivalents
of Neurontin.

100. The economic injury to Plaintiffs HCSC and Trustmark and their self-funded
customers can be determined through an accurate account of payments for Neurontin or generic
bioequivalents of Neurontin. Plaintiffs’ recovery will not pose a risk of double recovery.

101. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiffs HCSC and Trustmark are entitled to three times the actual damages sustained, in an
amount to be proven at trial, as well as reasonable attorneys’ fees, disbursements and costs,
against Defendants, jointly and severally. 740 Ill. Comp. Stat. 10/1 to 10/11.

COUNT VI

Unlawful Restraint of Trade by Defendants In Violation of
Louisiana Antitrust Act on Behalf of Plaintiff BCBS Louisiana

102. Plaintiff BCBS Louisiana incorporates and reavers by reference the averments
contained in preceding paragraphs 1 through 101.
103. Defendants’ above-described conduct violates the Louisiana Antitrust Act. La,

Rev. Stat. Ann. §§ 51:121 to 152 (2004).

26
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 16 of 21

104. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in Louisiana. La. Rev. Stat. Ann. § 51:122.

105. Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiff BCBS Louisiana for Neurontin or generic bioequivalents of
Neurontin.

106. The economic injury to Plaintiff BCBS Louisiana and its self-funded customers
can be determined through an accurate account of payments for Neurontin or generic
bicequivalents of Neurontin. Plaintiff BCBS Louisiana’s recovery will not pose a risk of double
recovery.

107. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiff BCBS Louisiana is entitled to three times the actual damages sustained, in an amount to
be proven at trial, as well as reasonable attorneys’ fees, disbursements and costs, against
Defendants, jointly and severally. La. Rev. Stat. Ann. § 51:137.

COUNT VII

Unlawful Restraint of Trade by Defendants In Violation of Michigan
Antitrust Reform Act on Behalf of Plaintiff BCBS Michigan

108. Plaintiff BCBS Michigan incorporates and reavers by reference the averments
contained in preceding paragraphs 1 through 107.

_109. Defendants’ above-described conduct unreasonably restrained trade in the market
for Neurontin or generic bioequivalents of Neurontin in violation of the Michigan Antitrust
Reform Act. Mich. Comp. Laws §§ 445.771 to .778 (2004).

110. Defendants’ above-described conduct necessarily and directly restrained and

affected trade or commerce in Michigan. Mich. Comp. Laws § 445.772.

27
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 17 of 21

111. Plaintiff BCBS Michigan is a “person” under the Michigan Antitrust Reform Act.
Mich. Comp. Laws § 445.771,

112. Defendants are “persons” under the Michigan Antitrust Reform Act. Mich.
Comp. Laws § 445.771.

113. As to BCBS Michigan, the above-described unreasonable restraint of trade
occurred primarily and substantially within the state of Michigan. Mich. Comp. Laws § 445.772.

114, Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiff BCBS Michigan for Neurontin or generic bioequivalents of
Neurontin.

115. The economic injury to Plaintiff BCBS Michigan and its self-funded customers
can be determined through an accurate account of payments for Neurontin and generic
bioequivalents of Neurontin. Plaintiff BCBS Michigan’s recovery will not pose a risk of double
recovery.

116. Defendants’ above-described conduct was a willful and flagrant violation of
Section 8 of the Michigan Antitrust Reform Act. As a direct and proximate result, Plaintiff
BCBS Michigan is entitled to three times the actual damages sustained, in an amount to be
proven at trial, as well as reasonable attorney’s fees, disbursements and costs, against
Defendants, jointly and severally. Mich. Comp. Laws § 445.778.

COUNT VIII

Unlawful Restraint of Trade by Defendants In Violation of Minnesota
Antitrust Act of 1971 on Behalf of Plaintiffs BCBS Minnesota and Federated Insurance

117. Plaintiffs BCBS Minnesota and Federated Insurance incorporate and reaver by

reference the averments contained in preceding paragraphs 1 through 116,

28
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 18 of 21

118. Defendants’ above-described conduct violates the Minnesota Antitrust Act of
1971. Minn, Stat. §§ 325D.49 to .66 (2003).

119. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in Minnesota. Minn. Stat. § 325D.54(b).

120. Plaintiffs BCBS Minnesota and Federated Insurance are “persons” under the
Minnesota Antitrust Act of 1971. Minn. Stat. § 325D.50(5).

121. Defendants are “persons” under the Minnesota Antitrust Act of 1971. Minn. Stat.
§ 325D.50(5).

122. Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiffs BCBS Minnesota and Federated Insurance for Neurontin or
generic bioequivalents of Neurontin.

123. The economic injury to Plaintiffs BCBS Minnesota and Federated Insurance and
their self-funded customers can be determined through an accurate account of payments for
Neurontin or generic bioequivalents of Neurontin. Plaintiffs’ recovery will not pose a risk of
double recovery.

124. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiffs BCBS Minnesota and Federated Insurance are entitled to three times the actual
damages sustained, in an amount to be proven at trial, as well as reasonable attorneys’ fees,
disbursements and costs, against Defendants, jointly and severally. Minn. Stat. § 325D.57.

COUNT IX

Unlawful Restraint of Trade by Defendants In Violation of the
Nebraska Antitrust Laws on Behalf of Plaintiff Mutual of Omaha

125. Plaintiff Mutual of Omaha incorporates and reavers by reference the averments

contained in preceding paragraphs 1 through 124.

29
Word 201 13683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 19 of 21

126. Defendants’ above-described conduct violates the Nebraska Antitrust Laws. Neb,
Rev. Stat. §§ 59-801 et seg. (2004).

127. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in Nebraska, Neb. Rev. Stat. § 59-801.

128. Plaintiff Mutual of Omaha is a “person” under the Nebraska Antitrust Laws. Neb.
Rev. Stat. § 59-822.

129. Defendants are “persons” under the Nebraska Antitrust Laws. Neb. Rev. Stat.
§ 59-822,

130. Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiff Mutual of Omaha for Neurontin or generic bioequivalents of
Neurontin.

131. The economic injury to Plaintiff Mutual of Omaha and its self-funded customers
can be determined through an accurate account of payments for Neurontin and generic
bioequivalents of Neurontin. Plaintiff's recovery will not pose a risk of double recovery.

132. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiff Mutual of Omaha is entitled to three times the actual damages sustained, in an amount
to be proven at trial, as well as reasonable attorneys’ fees, disbursements and costs, against
Defendants, jointly and severally. Neb. Rev. Stat. § 59-821.

COUNT X

Unlawful Restraint of Trade by Defendants In Violation of
New Mexico Antitrust Act on Behalf of Plaintiff HCSC

133. Plaintiff HCSC incorporates and reavers by reference the averments contained in

preceding paragraphs 1 through 132.

30

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 20 of 21

134. Defendants’ above-described conduct violates the New Mexico Antitrust Act.
N.M. Stat. Ann. §§ 57-1-1 to -19 (2004).

135. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in New Mexico. N.M. Stat. Ann. § 57-1-1.

136. Plaintiff HCSC is a “person” under the New Mexico Antitrust Act. N.M. Stat.
Ann, § 57-1-1.2.

137. Defendants are “persons” under the New Mexico Antitrust Act. N.M. Stat. Ann.
§ 57-1-1.2,

138. Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiff HCSC for Neurontin or generic bioequivalents of Neurontin.

139. The economic injury to Plaintiff HCSC and its self-funded customers can be
determined through an accurate account of payments for Neurontin and generic bioequivalents of
Neurontin. Plaintiff HCSC’s recovery will not pose a risk of double recovery.

140. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiff HCSC is entitled to three times the actual damages sustained, in an amount to be proven
at trial, as well as reasonable attorneys’ fees, disbursements and costs, against Defendants,
jointly and severally. N.M. Stat. Ann. § 57-1-3.

COUNT XI

Unlawful Restraint of Trade by Defendants In Violation of New York
Antitrust Act on Behalf of Plaintiffs WellChoice and Excellus

141. Plaintiffs WellChoice and Excellus incorporate and reaver by reference the
averments contained in preceding paragraphs 1 through 140.
142. Defendants’ above-described conduct violates the New York Antitrust Act. N.Y.

Gen. Bus. Law § 340 (2004).

31
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-3 Filed 03/25/05 Page 21 of 21

143. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in New York. N.Y. Gen. Bus. Law § 340.

144, Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiffs for Neurontin or generic bioequivalents of Neurontin.

145. The economic injury to Plaintiffs and their self-funded customers can be
determined through an accurate account of payments for Neurontin and generic bioequivalents of
Neurontin. Plaintiffs’ recovery will not pose a risk of double recovery.

146. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiffs are entitled to three times their actual damages sustained, in an amount to be proven at
trial, as well as reasonable attorneys’ fees, disbursements and costs, against Defendants, jointly
and severally. N.Y. Gen Bus. Law § 340(5).

COUNT XII

Unlawful Restraint of Trade by Defendants In Violation of Oklahoma’s
Antitrust Reform Act on Behalf of Plaintiff BCBS Oklahoma

147, Plaintiff BCBS Oklahoma incorporates and reavers by reference the averments
contained in preceding paragraphs 1 through 146.

148. Defendants’ above-described conduct violates the Oklahoma Antitrust Reform
Act. Okla. Stat. tit. 79 § 201 (2004).

149. Defendants’ above-described conduct necessarily and directly restrained and
affected trade or commerce in Oklahoma. Okla. Stat. tit. 79 § 201.

150. Plaintiff BCBS Oklahoma is a “person” under the Oklahoma Antitrust Reform

Act. Okla. Stat. tit. 79 § 201.

151. Defendants are “persons” under the Oklahoma Antitrust Reform Act. Okla. Stat.

tit. 79 § 201.

32

Word 20113683.1

